UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

RAVON OWENS,
Plaintiff,

Vv. Case No. 07-C-441

AMERICAN CYANAMID CO., et al.
Defendants.

 

SPECIAL VERDICT

Question 1: Did plaintiff Ravon Owens ingest white lead carbonate pigment?

Answer: a

Yes or No

If your answer to Question 1 is “no,” then do not answer any other question. Proceed to
the final page and sign/date this form.
If you answer Question 1 “yes,” then answer Question 2.

Question 2: Did Owens’s ingestion of white lead carbonate cause an injury?

Answer: _¥ 2S

Yes or No

If the answer to Question 2 is “no,” do not answer any other question. Proceed to the final
page and sign/date this form.
If you answer Question 2 “yes,” then answer Question 3.

Question 3: Answering separately for each defendant listed below, did the defendant
prove that it did not produce or market white lead carbonate ingested by Owens?
a. Atlantic Richfield

Yes No_.

b. Armstrong Containers, Inc.
Yes No_x

c. E.]. du Pont de Nemours Company
Yes No xX

d. Sherwin-Williams Company
Yes No_A

If you answered “yes” as to any defendant in question 3, answer no further questions as
to that defendant.

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Considering only those defendants for whom you answered “no” in Question 3, answer
Questions 4 and 5:

Question 4: Answering separately for each defendant, was the defendant negligent in
producing or marketing white lead carbonate?
a. Atlantic Richfield

 

 

 

Yes No “AS
b. Armstrong Containers, Inc.
Yes X_ No
C. E.I. du Pont de Nemours Company
Yes X No
d. Sherwin-Williams Company
Yes _X No

Question 5: Answering separately for each defendant listed below, was the white lead
carbonate manufactured and sold by the defendant defective and unreasonably dangerous
due to inadequate warnings at the time the product was sold?

a. Atlantic Richfield

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Yes No_X

b. Armstrong Containers, Inc.
Yes Xx No

6. E.|. du Pont de Nemours Company
Yes x No

d. Sherwin-Williams Company
Yes No

Considering only those defendants for whom you answered “yes” to question 5, answer
Question 6:

Question 6: Answering separately for each defendant listed below, were the defendant's
inadequate warnings a cause of Owens'’s injuries?
a. Atlantic Richfield

 

Yes No
b. Armstrong Containers, Inc.
Yes XY _ No
G. E.|. du Pont de Nemours Company
Yes_ \ No
d. Sherwin-Williams Company
Yes _ y No

If you answered “yes” as to any defendant on Question 4 or Question 6, then answer
Question 7:

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Question 7: What amount of money will fairly compensate Owens for his injuries caused
by ingesting white lead carbonate:
~ - fp ~

LDV f/f)
A JUS tL FCI CL

Each juror should sign this verdict form.

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